993 F.2d 884
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Jeronima Concepcion ROJAS-RODRIGUEZ, Petitioner,v.U.S. IMMIGRATION AND NATURALIZATION SERVICE, Respondent.
    No. 91-70205.
    United States Court of Appeals, Ninth Circuit.
    Submitted Jan. 11, 1993.*Decided May 10, 1993.
    
      Before:  SCHROEDER and BRUNETTI, Circuit Judges, and KING,** District Judge.
      MEMORANDUM***
      Petitioner Jeronima Concepcion Rojas-Rodriguez seeks review of the Board of Immigration Appeals' ("BIA") dismissal of her motion to reopen.   As part of its reasons for denying petitioner's claim, the BIA took administrative notice that the Sandinistas no longer control the Nicaraguan government.   For this reason, we reverse and remand for reconsideration in light of  Castillo-Villagra v. I.N.S., 972 F.2d 1017 (9th Cir.1992).
      REVERSED and REMANDED.
    
    
      
        *
         The panel finds this case appropriate for submission without argument pursuant to Fed.R.App.P. 34(a) and Ninth Circuit Rule 34-4
      
      
        **
         Honorable Samuel P. King, Senior U.S. District Judge for the District of Hawaii, sitting by designation
      
      
        ***
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    